     Case 8:20-cv-02261-JLS-DFM Document 38 Filed 10/14/21 Page 1 of 1 Page ID #:367



 1

 2

 3

 4

 5
                                   UNITED STATES DISTRICT COURT

 6
                                  CENTRAL DISTRICT OF CALIFORNIA

 7

 8

 9    AMBER MACHOWSKI, an individual,                Case No.: 8:20-cv-02261-JLS-DFM
10                   Plaintiff,
11        v.                                         ORDER FOR DISMISSAL WITH
                                                     PREJUDICE
12    SOUTH BORDER INVESTMENT LLC,
      a California limited liability company;
13    and DOES 1-10,
14                   Defendants.
15

16

17
               Pursuant to Fed. R. Civ. P. 41, the Court, having considered the parties’ stipulation
18
      (Doc. 37), and being fully advised finds as follows:
19
               IT IS ORDERED THAT:
20
               Plaintiff Amber Machowski’s action against Defendant South Border Investment
21
      LLC is dismissed with prejudice. Each party will be responsible for its own fees and
22
      costs.
23

24

25    Dated: October 14, 2021
                                                      HON. JOSEPHINE L. STATON
26
                                                      UNITED STATES DISTRICT JUDGE
27

28
